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            In the United States Court of Federal Claims
                                          No. 21-1148C
                                   (Filed: November 1, 2021)

*************************************
DEREK N. JARVIS,                    *
                                    *
            Plaintiff,              *
                                    *
                                                     Pro Se Plaintiff; Motion for
v.                                  *
                                                     Reconsideration
                                    *
THE UNITED STATES,                  *
                                    *
            Defendant.              *
*************************************

Derek N. Jarvis, Silver Spring, MD, pro se.

Borislav Kushnir, United States Department of Justice, Washington, DC, for defendant.

                                    OPINION AND ORDER

SWEENEY, Senior Judge

        Plaintiff Derek N. Jarvis, proceeding pro se, moves for reconsideration of the court’s
dismissal of his claims, relying on Rule 59 of the Rules of the United States Court of Federal
Claims (“RCFC”). As the court stated in its prior opinion, Mr. Jarvis’s primary claim is one for
reparations to compensate him for the “historic treatment of enslaved persons and Native
Americans by the United States.” Jarvis v. United States, No. 21-1148C, 2021 WL 3672165, at
*5 (Fed. Cl. Aug. 19, 2021), appeal docketed, No. 22-1006 (Fed. Cir. Oct. 1, 2021). The court
concluded that there is no jurisdiction for such a claim in this court. Id. at *6. Similarly, Mr.
Jarvis’s references to treaties between Native American tribes and the United States were
insufficient to support jurisdiction in this court for his claims. Id. at *4. The court also found
that Mr. Jarvis’s breach-of-trust claim against the United States in its role as trustee for the
interests of Native Americans, a claim he presented for the first time when opposing defendant’s
motion to dismiss, was jurisdictionally infirm. 1 Id. at *5.


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          The court also addressed jurisdictional barriers that foreclosed any claims in the
complaint against nongovernmental entities, as well as civil rights claims, equal protection and
due process claims, tort claims, and unjust enrichment claims. Jarvis, 2021 WL 3672165, at
*3-4. Because Mr. Jarvis’s motion for reconsideration focuses primarily on his treaty,
breach-of-trust, and reparations claims, the court’s rulings on the other claims possibly discerned
in the complaint will not be discussed here.
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       Mr. Jarvis asserts that the court committed a number of errors when dismissing his
complaint. For the reasons set forth below, the court disagrees with his assessment and denies
Mr. Jarvis’s motion.

                                        I. BACKGROUND

        Mr. Jarvis filed his complaint in this court on March 29, 2021. The court read the
document closely to discern the nature of the claims therein. The first heading of the complaint
reads as follows: “INTRODUCTION-SLAVERY REPARATIONS/RESTITUTION-
DEPRIVATION OF RIGHTS 42 U.S.C. 1982, 42 U.S.C. 1986-PLAINTIFF IS DIRECT
DESCENDANT OF THE CHEROKEE FREEDMEN, ENTITLED TO BENEFITS OF
CHEROKEE NATION.” Compl. 1. The court dismissed the reparations claims because Mr.
Jarvis did not point to any statute mandating the payment of reparations claims of this nature by
the United States. See Jarvis, 2021 WL 3672165, at *6 (noting that a plaintiff must identify a
money-mandating source of law to bring a claim under the Tucker Act (citing Rick’s Mushroom
Serv., Inc. v. United States, 521 F.3d 1338, 1343 (Fed. Cir. 2008)).

        Mr. Jarvis also referenced, in particular, the Treaty with the Cherokee of 1866. Compl.
3-5, 17. Mr. Jarvis did not, however, identify any provision of this treaty that provided a
money-mandating source of law for his claims. This claim, too, was dismissed for lack of
jurisdiction. Jarvis, 2021 WL 3672165, at *4.

        As for the breach-of-trust claim, also styled as a claim for breach of fiduciary duty, Mr.
Jarvis invoked the recognition by courts of a duty “running from the United States to Indian
Tribes because of specific treaties, obligations and a network of statutes that by their own terms
impose specific duties [on] the government.” Pl.’s Resp. 5. However, when the court applied
the jurisdictional test for such a breach-of-trust claim, it found that Mr. Jarvis had not identified a
specific source of law that established the necessary trust relationship with the United States.
See Jarvis, 2021 WL 3672165, at *5 (“Mr. Jarvis has not identified any statutes or regulations
that would create a trust relationship between the United States and a descendant of the
Cherokee, Powhatan, and Iroquois tribes such as himself.”). Finding no jurisdiction for a
breach-of-trust claim, the court was obliged to dismiss it.

        The court issued its decision dismissing Mr. Jarvis’s complaint on August 19, 2021. Mr.
Jarvis then filed his motion for reconsideration on August 30, 2021. The court did not require a
response from defendant, and oral argument is unnecessary.

                                  II. STANDARD OF REVIEW

        A motion for reconsideration under RCFC 59 is a request for extraordinary relief and is
not to be used by a dissatisfied party to relitigate the case. See Caldwell v. United States, 391
F.3d 1226, 1235 (Fed. Cir. 2004); Four Rivers Invs., Inc. v. United States, 78 Fed. Cl. 662, 664
(2007); Fru-Con Constr. Corp. v. United States, 44 Fed. Cl. 298, 300 (1999), aff’d per curiam,
250 F.3d 762 (Fed. Cir. 2000) (table). Consequently, such a motion “does not provide an
occasion for a party ‘to raise arguments that it could have raised previously, but did not’” or to

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“reassert arguments that the Court already has considered.” Four Rivers Invs., Inc., 78 Fed. Cl.
at 664 (quoting Browning Ferris Indus., Inc. & Subsidiaries v. United States, No. 05-738T, 2007
WL 1412087, at *1 (Fed. Cl. May 10, 2007)). However, the court may grant a motion for
reconsideration “when there has been an intervening change in the controlling law, newly
discovered evidence, or a need to correct clear factual or legal error or prevent manifest
injustice.” Biery v. United States, 818 F.3d 704, 711 (Fed. Cir. 2016) (quoting Young v. United
States, 94 Fed. Cl. 671, 674 (2010)). “The decision whether to grant reconsideration lies largely
within the discretion of the [trial] court.” Yuba Nat. Res., Inc. v. United States, 904 F.2d 1577,
1583 (Fed. Cir. 1990); accord Biery, 818 F.3d at 711.

                                        III. DISCUSSION

        In his motion for reconsideration, Mr. Jarvis discusses three of his claims: (1) violation
of treaty rights; (2) breach of trust; and (3) reparations. 2 The court addressed each of these
claims in its prior opinion, and found that there was no jurisdiction for these claims in this court.
At bottom, Mr. Jarvis is simply reasserting arguments that he has already made or raising
arguments that he should have made when responding to the government’s motion to dismiss.
The court will nonetheless address Mr. Jarvis’s principal arguments to the extent required to
create a complete record for appellate review. 3 As for Mr. Jarvis’s insinuations that the
undersigned acted with bias toward him and doubted his allegations regarding his ancestry, there
is no truth to these assertions and they are unworthy of additional comment.

        Turning first to Mr. Jarvis’s reliance on the Treaty with the Cherokee of 1866, he
identifies only one provision of the treaty, which, in his words, states that “[f]reedmen rights are
inherent.” Pl.’s Mot. 5; see also Treaty with the Cherokee art. 9, July 19, 1866, 14 Stat. 799
(stating that “all freedmen who have been liberated by voluntary act of their former owners or by
law, as well as all free colored persons who were in the country at the commencement of the
rebellion, and are now residents therein, or who may return within six months, and their
descendants, shall have all the rights of native Cherokees”). As noted in the court’s prior
opinion, general statements of this nature in the Treaty with the Cherokee of 1866 do not
establish a right for Mr. Jarvis to obtain monetary compensation from the United States.
Because no provision of this treaty has been shown to be money-mandating so as to support this
court’s jurisdiction over the claims in Mr. Jarvis’s complaint, his treaty rights claim was properly

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           Mr. Jarvis explains that his claim for unjust enrichment is a component of his
breach-of-trust claim. See Pl.’s Mot. 13 (“Plaintiff’s unjust enrichment claims go to breach of
trust by the United States . . . .”), 18 (“THE UNITED STATES HAVE BREACHED IT’S
FIDUCIARY DUTIES WHEN IT UNJUSTLY ENRICHED AT THE EXPENSE OF
PLAINTIFF JARVIS & FAILED TO DISBURSE FUNDS TO PLAINTIFF JARVIS AS AN
AMERICAN CHEROKEE EXCLUDING PLAINTIFF FROM RESOURCES ENGAGING IN
FRAUD AND CONVERSION[.]”).
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         On September 21, 2021, Mr. Jarvis filed a notice of appeal to the United States Court
of Appeals for the Federal Circuit.


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dismissed.

        The court now considers the breach-of-trust claim, which relies on Mr. Jarvis’s status as
an American Cherokee and the alleged trust relationship between the United States and
indigenous Americans such as Mr. Jarvis. Mr. Jarvis makes three distinct points. He first asserts
that there is no bar to an individual breach of trust claim brought by an individual Native
American. 4 The court does not dispute this point and indeed, in its prior opinion, the court did
not distinguish between a breach-of-trust claim brought by a Native American tribe and a
breach-of-trust claim brought by an individual Native American.

        Second, Mr. Jarvis asserts that resources that should have been his are being provided,
unjustly, to members of tribes who have, in his view, a less legitimate claim on those resources
than he does. This argument is founded on the alleged trust relationship between the United
States and Mr. Jarvis:

       Plaintiff Jarvis, has alleged that the United States, has failed to faithfully perform
       those duties, with respect to fiduciary duties by breaching it’s trust responsibility
       to Plaintiff Jarvis, resulting in compensable damages. Likewise, the United States
       motion to dismiss should have been denied by this biased and racist judge in this
       case, as Plaintiff Jarvis, has alleged a facially, plausible claim for breach of trust
       sufficient for the Court to draw reasonable inferences that the United States is
       liable in money damages to Plaintiff Jarvis an American Cherokee Indian
       Indigenous to North America who has been excluded from the Indian trust fund
       and resources over 61 years, this court is also engaged in fraudulent acts that will
       be investigated as they are now excluding this Plaintiff from monies owed to him
       by the government.

Pl.’s Mot. 11 (reproduced as written). However, as this court held in its prior opinion, Mr. Jarvis
has not established that the United States is in a trust relationship with him under the two-part
test set forth in United States v. Navajo Nation, 556 U.S. 287, 302 (2009). In the absence of a
fiduciary responsibility on the part of the United States, the court cannot consider a claim that
Native American tribes are receiving trust funds that should have been directed to Mr. Jarvis.

        Mr. Jarvis’s last argument regarding his breach-of-trust claim addresses the sources of
law that, in his view, establish the required trust relationship with the United States. This aspect
of his motion is not a model of clarity. Mr. Jarvis again references, generally, the Treaty with the
Cherokee of 1866, and includes a number of passages extracted from seminal court opinions that
discuss the trust relationship that can be formed between the United States and Native
Americans. He mentions his birthright as an American Cherokee. He alludes generally to
circumstances where the United States has exercised elaborate control over a trust corpus
belonging to a Native American tribe. Nowhere in the motion, however, does he identify a

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       Mr. Jarvis, unlike the court, draws a distinction between the terms “Native American”
and “American Indian.” Pl.’s Mot. 9-10, 14-15, 17, 19, 21.


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specific statute or regulation that provides the foundation for the trust relationship he seeks to
establish between the United States and persons in his circumstances. Because Mr. Jarvis fails to
establish that the jurisdictional requirements set forth in Navajo Nation have been met, he has not
shown that the court erred when it dismissed his breach-of-trust claim.

        Finally, Mr. Jarvis argues that jurisdiction lies for his reparations claim. He notes, in
particular, that he “is seeking restitution for historical wrongs.” Pl.’s Mot. 14. He asserts that his
reparations claim would provide relief for the “cultural deprivation of resources, [and would]
repair harm caused by historical injustices.” Id. at 17. He also alleges that he “has been
excluded from the constitution and 1866 Treaties.” Id. at 16. Yet nowhere in his motion does
Mr. Jarvis identify a money-mandating source of law for his reparations claim. Lacking such a
source of law, Mr. Jarvis has not shown how the court erred in dismissing his reparations claim
for lack of jurisdiction.

                                       IV. CONCLUSION

        Mr. Jarvis has not identified any reason to reconsider the court’s ruling that it lacks
jurisdiction over the claims stated in his complaint. Accordingly, his motion for reconsideration
is DENIED. Further, the court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal
from this order would not be taken in good faith because, as alleged, Mr. Jarvis’s claims are
clearly beyond the subject matter jurisdiction of this court. The clerk’s office shall REJECT
any further filings in this case.

       IT IS SO ORDERED.



                                                       MARGARET M. SWEENEY
                                                       Senior Judge




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